

People v Rasheed A. (2023 NY Slip Op 04734)





People v Rasheed A.


2023 NY Slip Op 04734


Decided on September 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 26, 2023

Before: Renwick, P.J., Moulton, Kennedy, Scarpulla, Higgitt, JJ. 


Ind. No. 3118/17 Appeal No. 617 Case No. 2019-4908 

[*1]The People of the State of New York, Respondent,
vRasheed A., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Danielle A. Bernstein of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Edwina Richardson-Mendelson, J.), rendered December 8, 2017, convicting defendant, upon his plea of guilty, of grand larceny in the third degree and identity theft in the first degree, adjudicating him a youthful offender, and sentencing him to concurrent prison terms of one to three years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People consent as a matter of prosecutorial discretion.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 26, 2023








